Case 2:21-cv-00326-SMJ   ECF No. 29-2   filed 03/12/22   PageID.1107 Page 1 of 4




                     EXHIBIT B
           Case 2:21-cv-00326-SMJ          ECF No. 29-2           filed 03/12/22   PageID.1108 Page 2 of 4


Drake, John (USAWAE)

From:                Drake, John (USAWAE)
Sent:                Monday, February 28, 2022 11:59 AM
To:                  James Pistorino
Cc:                  Donovan, Brian (USAWAE); Roger Townsend
Subject:             RE: FW: [EXTERNAL] Nancy Kidwell has invited you to work together in "ADMINISTRATIVE
                     RECORD.zip" file on Box
Attachments:         3-10205345873 level 3 record.zip


James,

The payment issue appears to be pretty straightforward. Here is my current understanding of what happened.

The March 10, 2021 claim was paid by the Medicare Administrative Contractor, Noridian Healthcare Solutions (MAC) on
July 15, 2021. At that time, Mr. Olsen had a reconsideration request pending before the Qualified Independent
Contractor, Maximus Federal (QIC). Apparently not realizing that the MAC had already corrected its error and paid the
claim, the QIC denied the reconsideration request on August 24, 2021. Thereafter, as reflected in the timeline below,
Mr. Olsen continued to pursue his appeal through an ALJ decision.

 March 2021 Claim                          Date
 Initial Denial by Noridian (MAC)          4/16/2021
 Redetermination Reqest (MAC)              5/3/2016
 Redetermination Decision (MAC)            6/16/2021
 Reconsideration Request (QIC)             6/30/2021
 CLAIM PAID                                7/15/2021
 Reconsideration Decision (QIC)            8/24/2021
 ALJ Hearing Request                       9/7/2021
 ALJ Hearing                               10/8/2021
 ALJ Decision                              10/26/2021
 Appeal to Medicare Appeals Council        none
 Medicare Appeals Council Decision         none

Based on my review of the ALJ appeal record (attached), it does not appear that Mr. Olsen disclosed to the ALJ that the
claim had been paid. To the contrary, Mr. Olsen appears to have represented to the ALJ during the October 8, 2021
hearing that the claim had not been paid, and that the agency was continuing to rely on CMS 1682‐R to deny
coverage. See audio recording of ALJ hearing at 5:19 – 5:26 (“So, just the short of it is, [CMS 1682‐R] issued illegally, and
is being illegally used to deny Mr. Olsen’s claim.”); id. at 6:04 – 6:16 (“So, again, just in sum, I contend that CMS 1682‐R
issued illegally, and that it is being illegally used to deny Mr. Olsen’s claim.”).

Would you mind clearing this up for us? Did Mr. Olsen know that the claim had been paid by the MAC in July when he
went before the ALJ in October? Did he know that before he filed this lawsuit in November? Obviously we cannot fault
Mr. Olsen for continuing to pursue his appeal or for filing this lawsuit if he did not know that the claim had been paid by
the MAC in July 2021. But, if he did know that, we have some concerns that we’ll want to discuss with you – particularly
with respect to Paragraphs 3‐6, 62, and 72‐90 of Mr. Olsen’s complaint.

As to the April 19 ‐ July 18, 2019 claim, there isn’t much there. That claim was also paid by the MAC on July 15, 2021. At
that time, Mr. Olsen’s administrative appeal was pending before the Medicare Appeals Council. The payment was made
                                                              1
        Case 2:21-cv-00326-SMJ               ECF No. 29-2        filed 03/12/22   PageID.1109 Page 3 of 4

a few months after Mr. Olsen prevailed on summary judgment and obtained a “bad faith” attorney’s fee award in Olsen
I. Most respectfully, I do not see how paying that claim amounted to “bad faith conduct in an effort to delay/shield the
Secretary from judicial review.” Paying the claim in response to a federal court judgment was not bad faith.

 April/June 2019 Claim                      Date
 Initial Denial by Noridian (MAC)           6/14/2019
 Redetermination Reqest (MAC)               7/5/2019
 Redetermination Decision (MAC)             7/25/2019
 Reconsideration Request (QIC)              10/7/2019
 Reconsideration Decision (QIC)             11/26/2019
 ALJ Hearing Request                        12/3/2019
 ALJ Hearing                                1/8/2020
 ALJ Decision                               1/31/2020
 Appeal to Medicare Appeals Council         2/11/2020
 Olsen I Judgment                           2/23/2021
 Olsen I Bad Faith Ruling                   4/20/2021
 CLAIM PAID                                 7/15/2021
 Medicare Appeals Council Decision          10/22/2021

Please let us know your thoughts on the above. From our perspective, it might make sense to revisit our discussions
about resolving this case informally.

John

                    John T. Drake
                    Assistant U.S. Attorney
                    United States Attorney’s Office
                    Eastern District of Washington
                    920 West Riverside Avenue | Suite 340
                    P.O. Box 1494 | Spokane WA 99201
                    Direct: (509) 835-6347
                    Cell: (509) 481-5665




From: James Pistorino <james.pistorino@gmail.com>
Sent: Friday, February 25, 2022 4:34 PM
To: Drake, John (USAWAE) <JDrake@usa.doj.gov>
Cc: Donovan, Brian (USAWAE) <BDonovan@usa.doj.gov>; Roger Townsend <rtownsend@bjtlegal.com>
Subject: Re: FW: [EXTERNAL] Nancy Kidwell has invited you to work together in "ADMINISTRATIVE RECORD.zip" file on
Box

John,

I saw that you just filed something so this may not matter anymore.

In any event, to be clear, personally, I do not care about the Record.
                                                             2
           Case 2:21-cv-00326-SMJ          ECF No. 29-2          filed 03/12/22   PageID.1110 Page 4 of 4

That said, I know from the first case that Judge Mendoza does.
In the first case, I filed an MSJ using my own copies of the administrative materials and Judge Mendoza refused to rule
on the MSJ until the certified copy was filed.
Technically, I think Judge Mendoza is correct, even though I might not be as much of a stickler as he is.

As to the Record, again, whatever your position on finality, that does not change what the Record constitutes.
If you file the complete Record, you are not waiving anything, I certainly would not contend that you did, and you can
argue whatever you want.
I may think it is wrong/disagree with your position, but you will not waive anything.

As to payment/non‐payment, there is a complicated history here of what Olsen contends is bad faith conduct in an
effort to delay/shield the Secretary from judicial review.
If you want to talk about it, just give me a call.

Regards,
James


On Fri, Feb 25, 2022 at 3:40 PM Drake, John (USAWAE) <John.Drake2@usdoj.gov> wrote:

 James,



 Respectfully, your comment about the docket not reflecting “compliance with the statute” is incorrect. The statute
 you’re referencing, 42 U.S.C. § 405(g), provides for judicial review after a “final decision” by the agency. Because there
 was no “final decision” as to the March 10, 2021 claim, the statutory requirement to file an administrative record of
 that (non‐final) decision was not triggered.



 With that said, I have no interest in fighting about this. If you feel strongly about having an administrative record
 prepared for the March 10, 2021 claim, we will put one together. All I would ask in return is that you agree (in
 response to this email is fine) that we are not waving any applicable defenses by preparing and filing an administrative
 record for the March 10, 2021 claim. I think that’s a reasonable compromise that will allow us to keep things moving
 forward.



 As to the payment issue, I have some additional information to share. We received a remittance notice from the
 Medicare Administrative Contractor, Noridian Healthcare Solutions, which, as far as I can tell, shows that both claims at
 issue in this lawsuit – the April 19 ‐ July 18, 2019 claim and the March 10, 2021 claim – were paid in July 2021. Please
 take a look at the attached PDF. There is an MSN to Mr. Olsen dated 10/1/21, and a remittance notice to MiniMed
 Distribution Corp. dated 07/20/21. I highlighted the claim numbers in the MSN and the corresponding payments in the
 remittance notice.



 Unless I’m misreading something, both claims were paid in July 2021. Was Mr. Olsen aware of that at the time he was
 pursuing his administrative appeals? At the time he filed this lawsuit? I think that changes the complexion of this case
 somewhat. Perhaps we could carve out some time to talk next week. My calendar is relatively clear on Monday and
 Tuesday. Please let me know what might work best for you.
                                                             3
